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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY B&stemDiltriat otllnDouoky
                               SOUTHERN DIVISION            F I LI
                                     LONDON
                                                                             OCT O7 2021
 UNITED STATES OF AMERICA                                                      AT LEXINGTON
                                                                              ROBERT R. CARR
                                                                          CLERK U.S. DISTRICT COURT


 V.
                                                    INDICTMENT NO.          b,-J/--C€..- 6'&_-C\f-8
 ROBERT BILLY TAYLOR

                                         * * * * *

 THE GRAND JURY CHARGES:

                                          COUNTl
                                 16 U.S.C. § 3372(a)(2)(A)
                                  16 U.S.C. § 3373(d)(2)
                                     18 U.S.C. § 2(b)

A.      Introduction


        1.     As part of the Lacey Act, Title 16, United States Code, Sections 3372, et

seq., it was unlawful for a person to import, export, transport, sell, receive, acquire, or

purchase in interstate or fo reign commerce any plant or wildlife, if they knew or in the

exercise of due care should have known that the plant or wildlife was taken, possessed,

transported, or sold in a manner unlawful under any underlying law or regulation of the

any state, the United States, or foreign country.

       2.     The Lacey Act defines the term "plant" to mean any wild member of the

plant kingdom, including roots, seeds, parts, or products thereof, and including trees from

either natural or p lanted forest stands. 16 U.S.C. § 3371(f).
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        3.     The Lacey Act defines the term '·wildlife" to mean any w ild animal.

whether alive or dead, including any wild reptile, whether or not bred, hatched or born in

captivity, and includes any part, product, egg or offspring thereof. 16 U.S.C. § 3371 (a).

        4.     Title 50, Code of Federal Regulations, Section 23.68 provides that states

must administer a program for wild ginseng which provides a framework, including a

limited harvesting season, in which wild ginseng shall be eligible for exportation in

compliance with the Convention on International Trade of Endangered Species of Wild

Fauna and F lora.

        5.     Kentucky has promulgated regulations to protect and regulate its wild

g inseng.

       6.      302 KAR 45:010 Section 8 prohibits the entiy of ginseng into Kentucky

that is harvested outside the border of Kentucky and not certified in the state of origin of

the harvested ginseng.

       7.      Kentucky has promulgated statutes and regulations to protect it native

w ildlife, which is defined as wildlife that has historically existed or currently exists in the

wild in Kentucky without introduction by man, except for introduced species which have

become naturalized. 30 I KAR 2:08 J( 1). The Eastern Box Turtle (Terrapene carolina

carolina) is a species of native wildlife, a reptile, that currently ex ists in the wild in

Kentucky.

       8.      Kentucky Revised Statute (KRS) 150.280 (1) states, "Except as provided

by administrative regulation, a person shall not propagate or hold protected

wildlife without obtaining a permit to do so from the department. The department shall
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promulgate administrative regulations governing all such activity and prescribing permit

fees. Any permit issued purs uant to this section may be revoked for a violation by the

holder thereof of any of the provisions of this chapter, any administrative regulation of

the department, or hunting, fishing, or wildlife laws of the federal government."

       9.     Kentucky Revised Statute 150.180 (1) states, "Except as otherwise

provided for in this chapter, and subject to regulations adopted under this chapter, no

person, for himself or as the agent or employee of another shall buy, or sell, or attempt to

buy, or sell, barter, exchange, or trade, or have in possession for the purpose of selling,

bartering, or trading any protected w ildlife or part thereof, raw fur or processed wildlife,

no matter where or when caught or killed. whether caught or killed in this state or in any

other state or other country."

       10.    301 Kentucky Administrative Reg ulation 2:081 (2) proh ibits selling,

offering to sell, buying or offering to buy, bartering, or trading native wildlife that have

been obtained from the wild. KAR 2 :081(5) prohibits taking more than five individuals

of each species of native reptile a year without a permit with limited exceptions for

snapping or softshell turtles.

       11.    301 Kentucky Adminis trative Regulation 1:058(8) prohibits a person taking

turtles for commercial purposes.

B.     The Offense

        12.    On or about September 12, 2020, in Bell County, in the Eastern District of

Kentucky, and elsewhere,
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                                   ROBERT BILLY TAYLOR

did knowingly cause the transport of wildlife, that is, two Eastern Box Turtles (Terrapene

carolina carolina), in interstate commerce. when in the exercise of due care. the

Defendant should have known that the turtles were taken in vio lation of and in a manner

unlawful under the Jaws and regulations of Kentucky regarding turtles, specifi cally 301

KAR 2:081 and 301 KAR 1 :058 that prohibits taking turtles for a commercial purpose,

all in violation of 16 U.S.C. §§ 3372(a)(2)(A), (a)(4), and 3373(d)(2), 18 U.S.C. § 2(b).

                                        COUNT2
                                 16 U.S.C. § 3372(a)(2)(A)
                                  16 U.S.C. § 3373(d)(2)

       13.    On or about September 22. 2020. in Bell County. in the Eastern District of

Kentucky, and elsewhere,

                               ROBERT BILLY TAYLOR

did knowingly sell wildlife, that is, two E astern Box Turtles (Terrapene carolina

carolina). in interstate commerce, when in the exercise of due care, the Defendant should

have knov,1 n that the turtles he so ld were taken in violation of and in a manner unlawful

under the laws and regulations of Kentucky regarding turtles. specifically 301 KAR

2:081 and 30 1 KAR 1 :058 that prohibits taking turtles for a commercial purpose, all in

violation of 16 U.S.C. §§ 3372(a)(2)(A), (a)(4), and 3373(d)(2).
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                                         COUNT3
                                 16 U.S.C . § 3372(a)(2)(B)(i)
                                  16 U.S.C. § 3373(d)(l)(B)
                                        18 U.S.C. § 2(b)

       14.     From on or about September 1, 2020, and continuing through on or about

October 21, 2020, in Bell County, in the Eastern District of Kentucky, and elsewhere,

                                ROBERT BILLY TAYLOR

did knowingly engage in conduct that involved the sale and purchase of plants with a

market value in excess of $350.00, that is, wild American ginseng (Panax quinquefolius),

and did knowingly sell and cause to be sold said ginseng in interstate commerce knowing

that said plants were transported into Kentucky from other states in violation of and in a

manner unlawful under laws and regulations of Kentucky that protect wild American

ginseng, specifically K.RS 246.660 and 302 KAR 45:010 Section 8 which prohibits

ginseng, from entering Kentucky that is harvested outside the borders of Kentucky and

not certified in its state of origin, all in violation of 16 U .S.C. §§ 3372(a)(2)(B)(i), (a)(4),

and 3373(d)(l)(B), and 18 U ..C. § 2(b).

                              FORFEITURE ALLEGATION
                                  16 U.S.C. § 3374(a)
                                   28 u.s.c. § 2461

       1)      Upon conviction of the offense alleged in Count Three, ROBERT BILLY

TAYLOR shall forfeit to the United State pursuant to 16 U.S.C. § 3374(a)(2), all

vessels, vehicles, and other equipment used to aid in the exporting. transporting, selling,

receiving, acquiring, or purchasing of gin eng, in violation of Title 16. United States

Code, Sections 33 72 and 3373, including but not limited to, the fo ll owing.
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       VEHICLES:


       2015 CHEVROLET, Series: LT-LT 27 1, Model: SILVERADO 1500, gray in
       color, VIN: 3GCUKREC2FG477813

       2)     Upon conviction of the offense alleged in Count Three, ROBERT BILLY

TAYLOR shall forfeit to the United States pursuant to l 6 U.S .C. §3374(a)( I) all seized

ginseng seized in connection with the offense.

       By virtue of the commission of the felony offense charged in Count Three of this

Indictment, any and all interest ROBERT BILLY TAYLOR, has in the above-described

property is vested in the United States and hereby forfeited to the United States pursuant

to 16 U.S.C. § 3374(a)(l) and (2).

                                                 A TRUE BILL




                                                 FOREPERSON




CARLTON S. SHIER, JV
                            C
                                     -
ACTING UNITED STATES ATTORNEY
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                                      PENALTIES

Counts 1&2:       Not more than 1 year imprisonment, and/or a $100,000 fine, and not
                  more than 1 year supervised release.

Count 3:          Not more than 5 years imprisonment, and/or a $250,000 fine, and
                  not more than 3 years supervised release.

Plus:             Mandatory special assessment of $25 per count for Counts 1 and 2;
                  $100 for Count 3

Plus:             Forfei ture, as listed

Plus:             Restitution, if applicable
